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July 26, 2017
Via E-File
The Honorable Louis L. Stanton
Daniel Patrick Moynihan
United States Courthouse
Southern District of New York
500 Pear! Street
New York, NY 10007-1312

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Re Dardashtian et al. v. Gitman, et al., 17-CV-4327 (LLS) (JCF)

Dear Judge Stanton,

We represent defendants David Gitman, Accel Commerce, LLC, Dalva Ventures, LLC, and
Channel Reply, Inc. (the "Defendants”) in the above-referenced action. We write in response to counsel
for the plaintiffs’ July 26, 2017 letter to Your Honor requesting a two (2) week extension of time to respond
to the Defendants’ motion to dismiss the verified complaint. We do not object to the plaintiffs’ request for
a two (2) week extension of time to August 11, 2017 to respond to the motion to dismiss the verified

complaint.

Respectfully submitted,

 

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